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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PESTICIDE ACTION NETWORK NORTH                  Case No. 24-cv-06324-JSC
                                         AMERICA,, et al.,
                                   8                     Plaintiffs,                     PRETRIAL ORDER NO. 1
                                   9             v.
                                  10
                                         MARTHA WILLIAMS, et al.,
                                  11                     Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Following the initial case management conference held on April 8, 2025, the Court

                                  14   ORDERS the following pretrial deadlines:

                                  15          Plaintiffs’ Summary Judgment Motion:                        May 29, 2025

                                  16          Plaintiffs’ Motion to Supplement Record (if any):           May 29, 2025

                                  17          Supplement Record Opposition(s):                            June 20, 2025

                                  18          Plaintiffs’ Supplement Record Reply:                        June 27, 2025

                                  19          Hearing on Motion to Supplement Record:                     July 10, 2025 at 10:00 a.m.

                                  20          Federal Defendants SJ Oppo/Cross-Motion:                    July 28, 2025

                                  21          Intervenors’ SJ Oppo/Cross-Motion:                          August 11, 2025

                                  22          Plaintiffs’ Oppo/Reply:                                     September 24, 2025

                                  23          Federal Defendants’ Reply:                                  October 24, 2025

                                  24          Intervenors’ Reply:                                         November 7, 2025

                                  25          Hearing:                                                    January 8, 2025 at 10:00 a.m.

                                  26          The pleadings in connection with the motion to supplement the record shall have the

                                  27   following page limits:

                                  28          Motion and Opposition(s):                                   15 pages
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                                   1          Reply:                                                         10 pages

                                   2          The summary judgment pleadings shall have the following page limitations:

                                   3          Motions/Oppositions/Cross-Motions:                             40 pages

                                   4          Replies:                                                       25 pages

                                   5          The Court cautions the parties that less is more, and to the extent the

                                   6   Defendants/Intervenors’ briefs cover the same subject matter they will be far less effective.

                                   7          IT IS SO ORDERED.

                                   8   Dated: April 8, 2025

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  11                                                                United States District Judge
                                  12
Northern District of California
 United States District Court




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